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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

JOY BANNER, Ph.D.                                                      CIVIL ACTION

VERSUS                                                                 NO. 23-7296

MICHAEL WRIGHT, individually and in official                           SECTION: “G”(4)
capacity, et al.

                        Plaintiff’s Response Regarding Stipulated Facts

       The premise of the Court’s requirement that parties provide stipulated or uncontested facts

in a pre-trial order is that the facts will be read or provided to the jury. See, e.g., Medrano v. City

of San Antonio, 179 F. App'x 897, 898 n.1 (5th Cir. 2006) (“The parties submitted a detailed list

of stipulated facts as part of the record exhibits during the jury trial.”); Facille v. Madere & Sons,

13-cv-6470-NJB, Rec. Doc. 104 at *26 (E.D. La. Aug. 21, 2015) (J. Brown) (describing “the list

of stipulated facts which would be read to the jury.”); Tajonera v. Black Elk Energy Offshore

Operations, L.L.C., No. 13-0366, 2016 U.S. Dist. LEXIS 199106, at *22 (E.D. La. June 15, 2016)

(“IT IS FURTHER ORDERED that the Court assumes that uncontested facts listed in the Pre-

Trial Order are stipulated facts to be read to the jury, since they are listed as such.”); Brothers

Petroleum, LLC v. Wagners Chef, LLC, 2:17-cv-06713, Rec. Doc. 145 (E.D. La. Oct 28, 2019)

(“there are stipulations or uncontested facts in the pretrial order, which sometimes we read during

the trial, or sometimes we just give them to the jury”).

       Here, the parties worked together to reach agreement on a set of uncontested facts.

Defendants signed off on the stipulated facts three times: in Rec. Docs. 104, 107, and 119.

Defendants further asked this Court to read the jury the Fifth Circuit’s Pattern Instruction 2.3 (Rec.

Doc. 124) about stipulated facts, which explains that:

       A “stipulation” is an agreement. When there is no dispute about certain facts, the attorneys
       may agree or “stipulate” to those facts. You must accept a stipulated fact as evidence and
       treat that fact as having been proven here in court.

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       Now, only twenty-three hours before trial, Defendants ask this Court to withdraw one of

the stipulated facts. Rec. Doc. 143. That last minute request would prejudice Plaintiff, whose team

has been preparing for trial on the basis that the jury would be provided the stipulated facts that

the parties agreed to. Any objection Defendants have to the stipulated facts was waived when they

approved the stipulated facts on December 23, 2024 (Rec. Doc. 104), January 3, 2025 (Rec. Doc.

107), and January 15, 2025 (Rec. Doc. 119).

       The Court should therefore decline to grant Defendants’ request.

                                                     Respectfully submitted,

                                                     /s/ William Most
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